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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,                        Case No. 1:12-cr-00155-BLW

                      Plaintiff,                  MEMORANDUM DECISION AND
        v.                                        ORDER

 JIM ALLEN LOVELAND,

                      Defendant.



                                   INTRODUCTION

       The Court has before it Defendant Loveland’s Motion for Acquittal or

Alternatively, Motion for New Trial (Dkt. 482). For the reasons explained below, the

Court will deny the motion.

                                       ANALYSIS

1.     TIMLINESS

       The Government first argues that Loveland’s motion is untimely. Federal Rule of

Criminal Procedure 29 states that a defendant may file or renew a motion for acquittal

within 14 days after a guilty verdict. Fed. R. Crim. P. 29(c)(1). Federal Rule of Criminal

Procedure 33 states that a defendant must file any motion for a new trial based upon any

reason other than newly discovered evidence within 14 days after the guilty verdict. Fed.

R. Crim. P. 33(b)(2). Federal Rule of Criminal Procedure 45 states that the Court may

extend the deadline for filing these motions for good cause shown if it does so before the

originally prescribed time expires, or after the time expires if the party shows excusable


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neglect. Fed. R. Crim. P. 45(b)(1)(A). There is no room in the text of Rule 45 for

“granting” an untimely postverdict motion. Carlisle v. U.S., 517 U.S. 416, 421 (1996).

       Here, Defendant Loveland was found guilty by a jury on January 22, 2013. He

filed his Motion for Acquittal or Alternatively Motion for New Trial six days later on

January 28, 2013. The motion contained no substantive argument; instead it requested an

additional thirty days to file a supporting memorandum. The Government filed an

opposition to both the motion and the request for extension four days later.

       Based solely upon the title of the motion, the Court assumed the motion contained

substantive arguments, and that the defendant would subsequently file a reply brief. The

Court intended to address the motion once the reply brief was filed. Accordingly, the

Court did not review the motion in any detail before the 14-day period expired. Instead,

the Court reviewed the motion when it received the defendant’s supporting

memorandum. Therefore, the Court did not grant or even address the defendant’s request

for an extension within the 14-day period.

       Under these circumstances, Loveland’s initial motion was timely filed (within six

days of the jury verdict), but his supporting memorandum may have been technically late

depending upon how one interprets the rules. The Government cites case law from the

Seventh Circuit, and argues that the Court cannot consider the supporting memorandum

because the arguments raised in it were not raised in the initial motion. See e.g., U.S. v.

Holt, 170 F.3d 698 (7th Cir. 1999) and U.S. v. Washington, 184 F.3d 653 (7th Cir. 1999).

The Court does not necessarily agree with the Government’s assertion or even that the

Seventh Circuit cases cited by the Government support its view. Moreover, the


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Government cites no Ninth Circuit or Supreme Court precedent taking such a view.

However, this need not be the test case for such a question in the Ninth Circuit because,

as explained in detail below, the Court will not “grant” the motion for acquittal or for a

new trial for substantive reasons. Therefore, the Court’s ruling is not at odds with

Supreme Court precedent indicating that there is no room in the text of Rule 45 for

“granting” an untimely postverdict motion. Carlisle v. U.S., 517 U.S. 416, 421 (1996).

2.     MOTION FOR ACQUITTAL

       “A judgment of acquittal is improper if, viewing the evidence in the light most

favorable to the government, a rational trier of fact could have found the defendant guilty

beyond a reasonable doubt.” U. S. v. Ching Tang Lo, 447 F.3d 1212, 1220 (9th Cir. 2006)

(Internal quotation and citation omitted). Loveland was convicted on one count of

conspiracy to possess with intent to distribute methamphetamine, in violation of Section

841(a) and Section 846 of Title 21 of the United States Code. Loveland argues that

although there may have been evidence of conspiracy to purchase methamphetamine,

there was no evidence of conspiracy to “distribute” methamphetamine.

       There was, as Loveland suggests, direct evidence that Loveland purchased

methamphetamine from the co-conspirators in this case. Specifically, there was evidence

that he purchased increments of 2-4 ounces of methamphetamine for $2,400.00 per 2

ounces from the co-conspirators on at least 10-15 occasions for a 6 month period from

December 2011 through May 2012. Trial Transcript, pp. 273-276 (Dkt. 536), pp. 331,

385, 462, 531, 540-44, 565-66, 571-73 (Dkt. 537).




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       These purchases support the jury’s conclusion that Loveland possessed

methamphetamine with intent to distribute it. As stated by the Supreme Court in U. S. v.

Shabani, 513 U.S. 10, 15-16 (1994), and cited as authority for the Ninth Circuit’s model

instruction on conspiracy to distribute a controlled substance (Model Instruction No.

9.19), the government is not required to prove commission of overt acts in furtherance of

the conspiracy. Moreover, a jury may infer intent to distribute from possession of a large

quantity of drugs. U.S. v. Johnson, 357 F.3d 980, 984 (9th Cir. 2004). In Johnson, agents

testified that a total amount of methamphetamine of just over 83 grams was inconsistent

with personal use. Id. Specifically, the agents testified that a user typically only has

between 1 gram and 3.5 grams on their person, while a distributor generally possesses 3.5

grams or more.

       No such testimony was offered by agents in this case. However, other

methamphetamine users testified that they would typically use only one to one-an-a-half

grams per day. Trial Transcript, pp. 594-95 (Dkt. 537). Moreover, one user testified that

using two grams of methamphetamine made him very ill. Trial Transcript, pp. 615-16

(Dkt. 537). Another testified that a half-gram was a user amount. Trial Transcript, pp.

871 (Dkt. 538).

       Considering, for example, Loveland’s purchases of methamphetamine in

December alone, he possessed well over a user amount. There was evidence at trial that

Loveland purchased 2 ounces of methamphetamine on two occasions in December 2011.

Trial Transcript, pp. 272-73 (Dkt. 536). That adds up to over 113 grams for that one

month alone, well beyond a user amount based upon the testimony of other witnesses in


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the case. Viewing this evidence in the light most favorable to the government, a rational

trier of fact could have found the defendant guilty of conspiracy to possess with intent to

distribute methamphetamine beyond a reasonable doubt. Accordingly, a judgment of

acquittal is improper, and the Court will deny the request. U. S. v. Ching Tang Lo, 447

F.3d 1212, 1220 (9th Cir. 2006)

3.     MOTION FOR NEW TRIAL

       The Court may grant a new trial “if the interest of justice so requires.” Fed. R.

Crim. P. 33(a); see also U.S. v. Moses, 496 F.3d 984, 987 (9th Cir. 2007). Here, Loveland

argues that the “cumulative effect on jurors hearing about the lifestyle of multiple meth-

addicted drug dealers,” caused Loveland to be guilty by association. Def’s Opening Brief,

p. 8, Dkt. 547. Loveland references testimony about firearms, wire transfers from Mexico

to co-conspirator Sanchez which may have led the jury to believe the defendants were

involved with Mexican drug cartels, another co-conspirator’s poor treatment of women in

his drug trafficking actions, and reckless behavior by another co-conspirator. Id.

Loveland did not file a pre-trial motion to sever his trial from his co-defendants.

       Although some of the actions of Loveland’s co-defendants were unsavory, the

Court does not find that it was so extreme or confusing that the jury would have

convicted Loveland based upon those actions. The Court properly instructed the jury

about the elements of the crime charged against Loveland, and that although the charges

in this case were joined for trial, the jury was to decide the case for each defendant on

each crime charged against that defendant separately. Jury Inst. No. 23, Dkt. 458. The

Court further instructed the jury that the defendant was not on trial for any conduct or


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offense not charged in the indictment. Jury Inst. No. 24, Dkt. 458. Under these

circumstances the Court finds that the interests of justice do not require a new trial.

Accordingly, the Court will deny the motion.

                                          ORDER

       IT IS ORDERED THAT:

       1. Defendant Loveland’s Motion for Acquittal or Alternatively, Motion for New

          Trial (Dkt. 482) is DENIED.



                                                  DATED: April 7, 2013


                                                  _________________________
                                                  B. Lynn Winmill
                                                  Chief Judge
                                                  United States District Court




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